          Case 1:21-vv-00026-UNJ Document 29 Filed 09/29/21 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0026V
                                        UNPUBLISHED


    WILLIAM HARRY,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: August 27, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


David John Carney, Green & Schafle LLC, Philadelphia, PA, for Petitioner.

Martin Conway Galvin, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On January 4, 2021, William Harry filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré syndrome (“GBS”) as a
result of an influenza (“flu”) vaccine he received on October 21, 2019. Amended Petition
at Preamble. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

       On August 27, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent states that “petitioner has satisfied the criteria set forth in the
Vaccine Injury Table (‘Table’) and the Qualifications and Aids to Interpretation (‘QAI’),

1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
        Case 1:21-vv-00026-UNJ Document 29 Filed 09/29/21 Page 2 of 2




which afford petitioner a presumption of causation if the onset of GBS occurs between
three and forty-two days after a seasonal flu vaccination and there is no apparent
alternative cause”. Id. at 9.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                s/Brian H. Corcoran
                                Brian H. Corcoran
                                Chief Special Master




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